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                    THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

In re: DEEPWATER HORIZON              *   MDL NO. 2179
                                      *
                                      *   SECTION “J”
                                      *
                                      *   DIVISION “I”
                                      *
                                      *   JUDGE CARL J. BARBIER
                                      *
This document relates to: 10-CV-1986  *   MAGISTRATE SHUSHAN
                                      *
************************************************************************
                                    ORDER

Considering the foregoing:

       IT IS HEREBY ORDERED, that the Short Form propose by Plaintiffs, Terry G.

Robin, et al. in 2:10-1986 marked Exhibit A and attached to their reply memorandum be

and is hereby approved for filing claims in the Fireboat Responders Limitation Actions

10-3897, 10-3896, 10-3895- 10-04169.

       New Orleans, Louisiana this _____ day of _________________, 2011.


                             ____________________________________________
                              UNITED STATES DISTRICT JUDGE
